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                   Case 1:22-cv-03419-JPB            Document 115-7   Filed 12/08/23   Page 1 of 1




                                  DECLARATION OF

            COUNTY OF FULTON
            STATE OF GEORGIA

                                       pursuant to 28 U.S.C. § 1746, and subject to the penalties
            of perjury declares as follows:

                1. My name is                       I am more than twenty-one years of age,
                   competent to testify, have no legal or mental disability, and have personal
                   knowledge of the facts stated herein. I freely give this declaration for use in
                   this case. This declaration was executed in the state of Georgia, where I am a
                   resident.
                2. In September 2015, I was a victim of child sex trafficking at the Super 8
                   located at 1600 Crescent Centre Blvd., Tucker, Georgia, 30084.
                3. While I was trafficked at the Super 8, I was very sleep deprived. I was sold
                   for sex to many men at all times of the day and night. I could only sleep
                   sporadically, for a few hours at a time at most. My exhaustion was apparent,
                   and I often looked very tired and sleep deprived as I walked around the
                   hotel.
                4. My trafficker beat me frequently in the room at the Super 8. These were
                   severe beatings and the injuries were often visible on my body. I had a
                   busted lip while I was at the Super 8 and I had scratches and bruises all over
                   me. These scratches and bruises were very visible on me because I often
                   wore revealing lingerie tops when I walked around the hotel with these
                   injuries.
                5. I have read this Declaration and declare under penalty of perjury that it is
                   true and correct.


                    This, the 6th day of December, 2023.
